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                                  UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF ALABAMA
                                           OFFICE OF THE CLERK
                                            POST OFFICE BOX 711
                                      MONTGOMERY, ALABAMA 36101-0711

DEBRA P. HACKETT, CLERK
                                                                              TELEPHONE (334) 9543600


                                          September 3, 2009

                                   Clerk’s Notice of Dismissal of Defendant


       To: All Parties


       Re:     Levi v. Capital One Bank (USA), N.A. et al
               Civil Action No. 2:09-cv-00675-WKW



              Pursuant to the Notice of Dismissal with prejudice filed by the Plaintiff on
       September 2, 2009, Equifax Information Services, LLC has been dismissed as a party
       defendant in this case.
